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                                                                   FILED & ENTERED

                                                                          JUL 20 2018

                                                                    CLERK U.S. BANKRUPTCY COURT
                                                                    Central District of California
                                                                    BY gonzalez DEPUTY CLERK




                 UNITED STATES BANKRUPTCY COURT
                   CENTRAL DISTRICT OF CALIFORNIA
                            LOS ANGELES DIVISION

In re:    Liberty Asset Management            Case No.:    2:16-bk-13575-ER
          Corporation, Debtor                 Adv. No.:    2:16-ap-01278-ER
AHA 2012 LLC et al.,                         ORDER SETTING CONTINUED STATUS
                                  Plaintiffs CONFERENCE FOR NOVEMBER 13, 2018,
                                             AT 10:00 A.M.
                     v.
Liberty Asset Management Corporation et
al.,
                                              Date:       July 17, 2018
                                Defendants
                                              Time:       10:00 a.m.
                                              Location:   Ctrm. 1568
                                                          Roybal Federal Building
                                                          255 East Temple Street
                                                          Los Angeles, CA 90012

  Having conducted a Status Conference at the above-captioned date and time, the Court
HEREBY ORDERS as follows:
  1) A continued Status Conference is set for November 13, 2018, at 10:00 a.m.
  2) A Joint Status Report must be submitted by no later than fourteen days prior to the
     hearing.
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  IT IS SO ORDERED.
                                       ###




    Date: July 20, 2018
